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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

RECORDING INDUSTRY ASSOCIATION ) Case Number:
OF AMERICA, INC. )
)
Plaintiff, ) DECLARATION OF MARK McDEVITT
)
Vs. ) IN SUPPORT OF ISSUANCE OF
) SUBPOENA PURSUANT TO 17 U.S.C §
DYNADOT LLC. ) 512(h)
)
Defendant. )
)
)
)
)

 

I, MARK McDEVITT, the undersigned, declare that:

1, I am Senior Vice President, Online Content Protection for the Recording Industry
Association of America, Inc. (RIAA). The RIAA is a trade association whose member
companies create, manufacture or distribute sound recordings. The RIAA is authorized to act on
its member companies’ behalf on matters involving the infringement of their copyrighted video
and sound recordings.

2. The RIAA is requesting the attached proposed subpoena that would order Dynadot LLC
to disclose the identity, including name, physical address, IP address, telephone number, e-mail
address, payment information, account updates and account history of the user operating the
following website:

http://newalbumreleases.net/1248 1 9/lizzo-cuz-i-love-you-2019/
http://newalbumreleases.net/128230/madonna-madame-x-2019/
~ http://newalbumreleases.net/127716/bruce-springsteen-western-stars-2019/

3, The purpose for which this subpoena is sought is to obtain the identity of the individual
assigned to this website who has induced the infringement of, and has directly engaged in the

infringement of, our members’ copyrighted sound recordings without their authorization. This
information will only be used for the purposes of protecting the rights granted to our members,
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the sound recording copyright owner, under Title II of the Digital Millennium Copyright Act.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.
Executed at Washington, District of Columbia, on June 27, 2019.

Mk foxt—

Mark McDevitt
